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 1 BENJAMIN B. WAGNER
   United States Attorney
 2 TODD A. PICKLES
   Assistant United States Attorney
 3 501 I Street, Suite 10-100
   Sacramento, CA 95814
 4 Telephone: (916) 554-2700
   Facsimile: (916) 554-2900
 5

 6 Attorneys for Plaintiff
   United States of America
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 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                           CASE NO. 2:13-CR-00412 TLN
12                                Plaintiff,             STIPULATION REGARDING EXCLUDABLE
                                                         TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                          v.                           FINDINGS AND ORDER AS TO DEFENDANT
                                                         MARIO LOPEZ-ALAYA
14   MARIO LOPEZ-AYALA,
15                                Defendant.
16

17                                               STIPULATION

18          1.      By previous order, this matter was set for status on May 22, 2014.

19          2.      By this stipulation, defendant Mario Lopez-Ayala only now moves to continue this

20 matter to June 19, 2014 for a change of plea hearing, and to exclude time between May 22, 2014, and
21 June 19, 2014, under Local Code T4.

22          3.      The parties agree and stipulate, and request that the Court find the following:

23                  a)     The government has represented that the discovery associated with this case

24 includes approximately 700 pages of documents and photographs, including investigative reports. All of

25 this discovery has been produced directly to counsel.

26                  b)     The United States has provided a plea agreement to defendant Lopez-Ayala.

27 Counsel has requested additional time to research matters related to the potential sentencing issues in

28 this case and to review discovery with respect to the terms of the agreements, and consult with her client

      STIPULATION RE: SPEEDY TRIAL ACT; FINDINGS AND     1
30    ORDER
                 Case 2:13-cr-00412-TLN Document 26 Filed 05/23/14 Page 2 of 3


 1 regarding implications for trial.

 2                  c)      Counsel for defendant Lopez-Alaya requests that the matter be set for change of

 3 plea on June 19, 2014.

 4                  d)      Counsel for defendant Lopez-Alaya believes that failure to grant the above-

 5 requested continuance would deny her the reasonable time necessary for effective preparation, taking

 6 into account the exercise of due diligence.

 7                  e)      The United States does not object to the continuance.

 8                  f)      Based on the above-stated findings, the ends of justice served by continuing the

 9 case as requested outweigh the interest of the public and the defendant in a trial within the original date
10 prescribed by the Speedy Trial Act.

11                  g)      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

12 et seq., within which trial must commence, the time period of May 22, 2014 to June 19, 2014, inclusive,

13 is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4] because it results

14 from a continuance granted by the Court at defendant’s request on the basis of the Court’s finding that

15 the ends of justice served by taking such action outweigh the best interest of the public and the

16 defendant in a speedy trial.

17          4.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

18 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

19 must commence.

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      STIPULATION RE: SPEEDY TRIAL ACT; FINDINGS AND      2
30    ORDER
              Case 2:13-cr-00412-TLN Document 26 Filed 05/23/14 Page 3 of 3


 1         IT IS SO STIPULATED.

 2
     Dated: May 21, 2014                                    BENJAMIN B. WAGNER
 3                                                          United States Attorney
 4                                                          /s/ Todd A. Pickles
                                                            TODD A. PICKLES
 5                                                          Assistant United States Attorney
 6

 7 Dated: May 21, 2014                                      /s/ Todd A. Pickles for
                                                            KATHERINE E. LATHROP
 8
                                                            Counsel for Defendant
 9                                                          Mario Lopez-Ayala

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                                            FINDINGS AND ORDER
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           IT IS SO FOUND AND ORDERED this 22nd day of May, 2014.
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                                                 Troy L. Nunley
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                                                 United States District Judge
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      STIPULATION RE: SPEEDY TRIAL ACT; FINDINGS AND    3
30    ORDER
